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		OSCN Found Document:MCCLANAHAN v. CITY OF TULSA

					

				
  



				
					
					
						
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				MCCLANAHAN v. CITY OF TULSA2019 OK 15Case Number: 115802Decided: 04/02/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 15, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



BRIAN MCCLANAHAN, Petitioner,
v.
CITY OF TULSA, OWN RISK #10435, and THE WORKERS'COMPENSATION COMMISSION, Respondents.



MEMORANDUM OPINION




COMBS, J.:


¶1 This is an appeal of an Order Affirming Decision of Administrative Law Judge by the Oklahoma Workers' Compensation Commission En Banc filed on February 21, 2017. Petitioner suffered a compensable injury after the effective date of the Administrative Workers' Compensation Act (AWCA) (Title 85A). The Administrative Law Judge (ALJ) awarded Petitioner Permanent Partial Disability (PPD). The ALJ also determined the City of Tulsa was entitled to a credit from the PPD award in the sum of $9,758.27, pursuant to 85A O.S. § 89. The Petitioner challenged the constitutionality of several sections of the AWCA which mandate the exclusive use of the latest edition of the American Medical Association's Guide (AMA Guide) to evaluate and award PPD. In addition, he challenged the constitutionality of the credit against PPD awards provided by 85A O.S. § 89. The ALJ found the use of the AMA Guide as well as the credit against PPD awards to be constitutional. The Oklahoma Workers' Compensation Commission En Banc affirmed. The dispositive issues on appeal concern the constitutionality of the sections of the AWCA which mandate the use of the AMA Guide as well as the employer credit against PPD awards. This cause was assigned to this office on March 28, 2018.

¶2 Upon review of the record and briefs of the parties, this Court has determined the issues raised in this appeal have already been decided in our recent opinions, Hill v. American Medical Response, 2018 OK 57, 423 P.3d 1119 and Braitsch v. City of Tulsa, 2018 OK 100, ____P.3d______, 2018 WL 6617141. In Hill this Court held the required use of the AMA Guide in the AWCA was constitutional. In Braitsch, this Court held the credit provided under 85A O.S. § 89 was constitutional. The Order of the Oklahoma Workers' Compensation Commission En Banc is affirmed.


¶3 Wyrick, V.C.J., Winchester, Combs and Darby, JJ., concur.

¶4 Edmondson, J., concurs by reason of stare decisis.

¶5 Kauger, J., concurs in part; dissents in part;




Kauger, J., concurring in part and dissenting in part


I am concurring in part and dissenting in part for the reasons I expressed in Hill v. American Medical Response, 2018 OK 57, 423 P.3d 1119.



¶6 Gurich, C.J., Colbert and Reif, JJ., dissent.







	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
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		Level
		
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2018 OK 57, 423 P.3d 1119, HILL v. AMERICAN MEDICAL RESPONSEDiscussed at Length
&nbsp;2018 OK 100, BRAITSCH v. CITY OF TULSACited
Title 85A. Workers' Compensation
&nbsp;CiteNameLevel

&nbsp;85A O.S. 89, Reimbursement - DeductionsDiscussed at Length


	
	








				
					
					
				

		
		

	
		
			
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